                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                     2021-NCCOA-233

                                         No. COA19-926

                                     Filed 1 June 2021

     Guilford County, No. 16 CVS 9056

     NORTH CAROLINA FARM BUREAU MUTUAL INSURANCE COMPANY, INC.,
     Plaintiff,

                 v.

     LANIER LAW GROUP, P.A., and LISA LANIER, Defendants.


           Appeal by defendants from order entered 28 June 2019 by Judge Susan E. Bray

     in Guilford County Superior Court. Heard in the Court of Appeals 28 April 2021.


           Goldberg Segalla LLP, by David L. Brown and Martha P. Brown, for plaintiff-
           appellee.

           Pinto Coates Kyre &amp; Bowers, PLLC, by Richard L. Pinto and Matthew J.
           Millisor, for defendants-appellants.


           TYSON, Judge.


¶1         Lanier Law Group, P.A. (LLG) and Lisa Lanier (“Lanier”) (“collectively

     Defendants”) appeal from an order entered granting summary judgment to North

     Carolina Farm Bureau Insurance Company, Inc. (“Plaintiff”). We affirm.

                                    I.     Background

¶2         LLG is a North Carolina-chartered professional association law firm, which

     specializes in representing plaintiffs in personal injury actions.       Lanier is
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     President/CEO of LLG and she practices law in North Carolina. Plaintiff is a mutual

     insurance company organized and existing under the laws of North Carolina.

¶3          LLG seeks clients by sending marketing materials to individuals who have

     been involved in automobile accidents. LLG obtains the names and addresses of the

     potential clients from the North Carolina Division of Motor Vehicles form DMV-349

     accident reports.

¶4          LLG purchased three primary business policies and an excess policy from

     Plaintiff. Lanier individually purchased three homeowners’ policies and a personal

     umbrella policy from Plaintiff.

¶5          LLG, Lanier, and other personal injury lawyers, who also utilize the direct

     mailing solicitations from DMV-349 accident reports, were named in a class action

     filed on 27 May 2016 in the United States District Court for the Middle District of

     North Carolina captioned Garey v. James S. Farrin, Case No. 1:16-cv-00542-LCB-

     JLW.

¶6          The plaintiffs in Garey alleged the defendants, including Defendants herein,

     obtained and used their “protected personal information” in connection with

     advertisements for legal services without the consent of the plaintiffs in violation of

     the Driver’s Privacy Protection Act of 1994, 18 U.S.C. § 2721 et seq. (“DPPA”).

¶7          Allegations in the Garey complaint assert:

                  140. Defendants knowingly obtained and used one or more
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                 Plaintiff’s protected personal information from a motor
                 vehicle record as described above.

                 141. Each Defendant knowingly obtained, disclosed and
                 used one or more Plaintiff’s protected personal information
                 from a motor vehicle record for the purpose of marketing
                 that Defendant’s legal services.

                 ....

                 143. When each Defendant sent its above-described
                 mailing containing the words “This is an advertisement for
                 legal services” to one or more Plaintiffs, Defendants
                 knowingly disclosed and used said Plaintiff’s personal
                 information from a motor vehicle record.

                 144. Defendants knowingly obtained, disclosed and used
                 Plaintiffs’ personal information from a motor vehicle record
                 for the purpose of marketing legal services.

                 145. Advertising for legal services for the solicitations of
                 new potential clients is not a permissible purpose for
                 obtaining motor vehicle records under the DPPA.
                 Maracich v. Spears, 133 S. Ct. 2191 (2013).

                 146. Defendants knowingly obtained, disclosed and used
                 Plaintiffs’ personal information from a motor vehicle record
                 in violation of the DPPA. (emphasis supplied).

¶8         Upon cross motions for summary judgment in the underlying case, the United

     States District Court Judge denied the plaintiffs’ motion for summary judgment and

     granted defendants’ motion for summary judgment. Garey v. Farrin, __ F. Supp.3d

     __, 2021 WL 231281 (M.D.N.C. 2021).
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¶9           The Garey order and opinion states the plaintiffs were involved in vehicle

       accidents wherein “local police officers or North Carolina State Highway Patrol

       troopers investigated and recorded their findings on a standard DMV-349 form that

       was then provided to the North Carolina Division of Motor Vehicles (“DMV”).” Id. at

       __, 2021 WL 231281, at *1. The information was gathered from the individual’s

       driver’s license. Id.
¶ 10         The defendants in Garey gathered the information from DMV -349s themselves

       or they “purchased accident report data aggregated by a third party.” Id. Nowhere

       in plaintiff’s pleadings or arguments in Garey did they allege the DMV-349 reports

       are “motor vehicle records,” but “the information included in the report may be traced

       back to such records and thus fall under the ambit of the DPPA.” Id.
¶ 11         “There are no allegations that the accident reports are motor vehicle records

       under the DPPA nor that the information was obtained from a search of a DMV

       database.” Id. at __, 2021 WL 231281, at *8 (internal quotation marks omitted). The

       plaintiff in Garey did not assert and the District Court Judge did not find any case

       “where a defendant was adjudged liable as a matter of law for a DPPA violation after

       obtaining, disclosing, or using personal information that was not gathered directly

       from a state DMV.” Id. (internal quotation marks omitted).

¶ 12         Lanier and LLG tendered the defense of the Garey litigation to Plaintiff under

       the policies listed above. Plaintiff agreed to defend Defendants under a reservation
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       of rights to later deny indemnity coverage and to withdraw from providing for the

       defense. During oral argument, Plaintiff’s counsel stated Plaintiff would not be

       seeking a recoupment of costs and fees extended during Defendant’s defense of the

       Garey suit.

¶ 13             Plaintiff commenced this action by filing a declaratory judgment complaint on

       2 December 2016 to determine its obligations under the above policies to the Garey

       suit. On cross-motions for summary judgment, the trial court entered a summary

       judgment order for Plaintiff on 28 June 2019 finding the Garey suit did not trigger

       Plaintiff’s duty to defend under any of the tendered policies. Defendants timely

       appealed.

                                          II.      Jurisdiction

¶ 14             This Court possesses jurisdiction pursuant to N.C. Gen. Stat. § 7A-27(b) (2019).

                                                III.    Issue

¶ 15             Defendants argue the trial court erred by granting summary judgment for

       Plaintiff and assert, at minimum, there is a duty to defend under the LLG excess

       policy.

                          IV.    Plaintiff’s Summary Judgment Motion

                                        A. Standard of Review

¶ 16             North Carolina Rule of Civil Procedure 56(c) entitles a movant to obtain

       summary judgment upon demonstrating “the pleadings, depositions, answers to
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       interrogatories, and admissions on file, together with the affidavits” show there is “no

       genuine issue as to any material fact” and the movant is “entitled to a judgment as a

       matter of law.” N.C. Gen. Stat. § 1A-1, Rule 56(c) (2019).

¶ 17         A genuine issue of material fact is one supported by evidence that would

       “persuade a reasonable mind to accept a conclusion.”           Liberty Mut. Ins. Co. v.

       Pennington, 356 N.C. 571, 579, 573 S.E.2d 118, 124 (2002) (citation omitted). “An

       issue is material if the facts alleged would . . . affect the result of the action.” Koontz

       v. City of Winston-Salem, 280 N.C. 513, 518, 186 S.E.2d 897, 901 (1972).

¶ 18          “The party moving for summary judgment bears the burden of establishing

       that there is no triable issue of material fact.” DeWitt v. Eveready Battery Co., 355

       N.C. 672, 681, 565 S.E.2d 140, 146 (2002) (citation omitted). “This burden may be

       met by proving that an essential element of the opposing party’s claim is nonexistent,

       or by showing through discovery that the opposing party cannot produce evidence to

       support an essential element of his claim or cannot surmount an affirmative defense

       which would bar the claim.” Id. (citation and internal quotation marks omitted).

¶ 19         “The evidence produced by the parties is viewed in the light most favorable to

       the non-moving party.” Hardin v. KCS Int’l., Inc., 199 N.C. App. 687, 695, 682 S.E.2d

       726, 733 (2009) (citation omitted). When the court reviews the evidence at summary

       judgment, “[a]ll inferences of fact from the proofs offered at the hearing must be

       drawn against the movant and in favor of the party opposing the motion.” Boudreau
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       v. Baughman, 322 N.C. 331, 343, 368 S.E.2d 849, 858 (1988) (citation omitted).

¶ 20         “Our standard of review of an appeal from summary judgment is de novo; such

       judgment is appropriate only when the record shows that ‘there is no genuine issue

       as to any material fact and that any party is entitled to a judgment as a matter of

       law.’” In re Will of Jones, 362 N.C. 569, 573, 669 S.E.2d 572, 576 (2008) (quoting

       Forbis v. Neal, 361 N.C. 519, 524, 649 S.E.2d 382, 385 (2007)). The meaning of the

       terms and provisions used in an insurance policy are a question of law. Wachovia

       Bank &amp; Tr. Co. v. Westchester Fire Ins. Co., 276 N.C. 348, 354, 172 S.E.2d 518, 522
       (1970).

                        B. Rules of Construction of Insurance Policies

¶ 21         Our Supreme Court stated an insurance policy is a contract, “[a]s with all

       contracts, the object of construing an insurance policy is to arrive at the insurance

       coverage intended by the parties when the policy was issued.” Harleysville Mut. Ins.

       Co. v. Buzz Off Insect Shield, L.L.C., 364 N.C. 1, 9, 692 S.E.2d 605, 612 (2010) (citation

       and internal quotation marks omitted); see Woods v. Nationwide Mut. Ins. Co., 295

       N.C. 500, 505, 246 S.E.2d 773, 777 (1978) (“[T]he goal of [insurance policy]

       construction is to arrive at the intent of the parties when the policy was issued.”).

¶ 22         “[T]he most fundamental rule [in interpreting insurance policies] is that the

       language of the policy controls.” Nationwide Mut. Ins. Co. v. Mabe, 115 N.C. App.

       193, 198, 444 S.E.2d 664, 667 (1994).
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¶ 23         Any ambiguities in the insurance policy are “strictly construed against the

       insurer and in favor of the insured.” State Capital Ins. Co. v. Nationwide Mut. Ins.

       Co., 318 N.C. 534, 547, 350 S.E.2d 66, 73 (1986).

¶ 24         Our Supreme Court stated our courts are to “construe[] liberally insurance

       policy revisions that extend coverage so as to provide coverage, whenever possible by

       reasonable construction,” and “strictly construe against an insurance company those

       provisions excluding coverage under an insurance policy.” Harleysville Mut. Ins. Co.,

       364 N.C. at 9-10, 692 S.E.2d at 612 (citation and internal quotation marks omitted);

       see State Capital Ins. Co., 318 N.C. at 542-43, 350 S.E.2d at 71 (1986) (“Exclusionary

       clauses are interpreted narrowly while coverage clauses are interpreted broadly to

       provide the greatest possible protection to the insured.”).

¶ 25         If the insurance policy specifically defines a term, that definition governs its

       application. York Indus. Ctr., Inc. v. Mich. Mut. Liab. Co., 271 N.C. 158, 162, 155

       S.E.2d 501, 505 (1967) (“Since the word . . . is defined in the amended policy, it must

       be given that meaning, regardless of whether a broader or narrower meaning is

       customarily given to the term, the parties being free, apart from statutory limitations,

       to make their contract for themselves and to give words therein the meaning they see

       fit.”). This Court stated, “all parts of an insurance policy are to be construed

       harmoniously so as to give effect to each of the policy’s provisions.” Nationwide Mut.

       Ins. Co., 115 N.C. App. at 198, 444 S.E.2d at 667.
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                                        C. Duty to Defend

¶ 26         A policyholder claiming coverage under an enforceable insurance policy

       triggers two independent duties the carrier owes to the insured: the duty to defend

       and the duty to indemnify. See Harleysville Mut. Ins. Co., 364 N.C. at 6-7, 692 S.E.2d

       at 610-11. Our Court has held: “the insured has the burden of bringing itself within

       the insuring language of the policy.” Kubit v. MAG Mut. Ins. Co., 210 N.C. App. 273,

       283, 708 S.E.2d 138, 147 (2011) (citation and alteration omitted).

¶ 27         If the insured party meets this burden, the burden shifts to the insurer to

       “prove that a policy exclusion excepts the particular injury from coverage.”        Id.
       (citation omitted). If the insurer meets this burden, the burden shifts back to the

       insured to “prov[e] that an exception to the exclusion exists and applies to restore

       coverage.” Home Indem. Co. v. Hoechst Celanese Corp., 128 N.C. App. 189, 202, 494

       S.E.2d 774, 783 (1998) (citation omitted).

¶ 28         Our Supreme Court examined the interplay between a duty to defend and a

       duty to indemnify in Waste Mgmt. of Carolinas, Inc. v. Peerless Ins. Co., 315 N.C. 688,

       691, 340 S.E.2d 374, 377 (1986) holding:

                    Generally speaking, the insurer’s duty to defend the
                    insured is broader than its obligation to pay damages
                    incurred by events covered by a particular policy. An
                    insurer’s duty to defend is ordinarily measured by the facts
                    as alleged in the pleadings; its duty to pay is measured by
                    the facts ultimately determined at trial. When the
                    pleadings state facts demonstrating that the alleged injury
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                    is covered by the policy, then the insurer has a duty to
                    defend, whether or not the insured is ultimately
                    liable. Conversely, when the pleadings allege facts
                    indicating that the event in question is not covered, and the
                    insurer has no knowledge that the facts are otherwise, then
                    it is not bound to defend.

       Id. (emphasis supplied). An insurer is excused from its duty to defend when “the facts

       are not even arguably covered by the policy.” Id. at 692, 340 S.E.2d at 378.

¶ 29         Our Supreme Court further explained the duty of an insurer to defend in Waste

       Management holding: “Where the insurer knows or could reasonably ascertain facts

       that, if proven, would be covered by its policy, the duty to defend is not dismissed

       because the facts alleged in a third-party complaint appear to be outside coverage, or

       within a policy exception to coverage.” Id. at 691, 340 S.E.2d at 377 (citation omitted).

¶ 30         Later in Harleysville Mut. Ins. Co., our Supreme Court articulated a

       “comparison test” by reading the policies at issue and the complaint “side by side” to

       determine whether an insurer has a duty to defend. Harleysville Mut. Ins. Co., 364

       N.C. at 6, 692 S.E.2d at 610. A court performs this test by taking “the facts as alleged

       in the complaint . . . are true and compared to the language of the insurance policy.

       If the insurance policy provides coverage for the facts as alleged, then the insurer has

       a duty to defend.” Id. at 7, 692 S.E.2d at 611.

¶ 31         This Court extended the “comparison test” from just allegations in the

       pleadings and the policy in Waste Management and Harleysville Mut. Ins. Co. to
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       include “facts learned from the insured and facts discoverable by reasonable

       investigation may also be considered.” Duke Univ. v. St. Paul Fire &amp; Marine Ins. Co.,

       96 N.C. App. 635, 638, 386 S.E.2d 762, 764 (1990).

¶ 32         Defendants tendered claims under four separate types of policies to Plaintiff:

       business primary policies, business excess policy, personal homeowners’ policies, and

       a personal umbrella policy. The parties agreed at oral arguments that the only policy

       where coverage is at issue is under the LLG business excess policy. We limit our

       review to that policy.

                           D. Willful Violation of a Criminal Statute

¶ 33         The excess policy contains an exclusion for injuries arising out of the willful

       violation of a penal statute:

                    2. Exclusions

                    This insurance does not apply to:
                    a.     “Personal injury” or “advertising injury”;

                     ...

                           (4) Arising out of the willful violation of a penal
                           statute or ordinance committed by or with the
                           consent of the insured.

¶ 34         Plaintiff asserts that there is no duty to defend because the complaint alleges

       as the basis of liability, “Defendants knowingly obtained, disclosed and used

       Plaintiffs’ personal information from a motor vehicle record in violation of the DPPA.”
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       Plaintiff contends a knowing violation of the DPPA is a criminal act and, the alleged

       injury arising out of a willful violation of a penal statute, triggers the policy exclusion.

       We agree.

¶ 35          Federal code, 18 U.S.C. § 2721, proscribes the knowing disclosure of personal

       information and highly restricted personal information. 18 U.S.C. § 2725(3) defines

       “personal information” as “information that identifies an individual, including an

       individual’s photograph, social security number, driver identification number, name,

       address (but not the 5-digit zip code), telephone number, and medical or disability

       information, but does not include information on vehicular accidents, driving

       violations, and driver’s status.” 18 U.S.C. § 2725(3).

¶ 36          18 U.S.C. § 2725(4) defines “highly restricted personal information” as an

       individual’s photograph or image, social security number, medical or disability

       information[.]”   18 U.S.C. § 2725(4).       18 U.S.C. § 2723 criminalizes knowing

       violations. The code also creates a civil cause of action for knowing violations in 18

       U.S.C. § 2724. Thus, a knowing violation of the DPPA, which gives rise to a civil

       cause of action, is also a violation of the penal criminal provision.

¶ 37          The dispositive issue is whether the plaintiff’s allegations of “knowingly”

       violating the DPPA in Garey has the same meaning as “willfully” doing so. Neither

       the insurance policy nor the DPPA define “knowingly” or “willfully.”
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¶ 38         “Knowingly” is defined as “1. having knowledge or understanding 2. shrewd;

       clever 3. implying shrewd understanding or possession of a secret or inside

       information 4. deliberate; intentional.” Webster’s New World College Dictionary 806

       (5th ed. 2014).   “Willful” is defined in part as “1. said or done deliberately or

       intentionally.” Webster’s New World College Dictionary 1656 (5th ed. 2014).

¶ 39         The terms “knowingly” and “willfully” are both defined as deliberate or

       deliberately. The standard dictionary and ordinary meanings of both words are

       equivalent. Our General Assembly, our Supreme Court, and this Court have used

       both terms in tandem and interchangeably in both the criminal and civil contexts.

       See Marshall v. Miller, 302 N.C. 539, 547, 276 S.E.2d 397, 402 (1981); State v.

       Tennant, 141 N.C. App. 524, 529, 540 S.E.2d 807, 810 (2000).

¶ 40         We conclude that the words “willful” and “knowing” carry essentially the same

       or equivalent meanings. An allegation of a “knowing” violation of the DPPA is an

       allegation of a “willful” violation of the DPPA. The injury alleged in the underlying

       complaint, which is based upon Defendants having “knowingly obtained, disclosed

       and used Plaintiffs’ personal information from a motor vehicle record in violation of

       the DPPA,” is injury arising out of the “willful” violation of a penal statute and that

       violation is excluded from coverage under the plain terms of the policy.

                                          V. Conclusion

¶ 41         Viewed in the light most favorable to Defendants and giving them the benefit
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of any disputed inferences, the trial court properly entered summary judgment for

Plaintiff. Applying the “comparison test” of the Garey complaint’s allegations to the

terms of Defendants’ policy with Plaintiff, the policy excludes coverage for the facts

as alleged or for “facts discoverable by reasonable investigation.” Harleysville Mut.

Ins. Co., 364 N.C. at 6, 692 S.E.2d at 610-11 (citation omitted); Duke Univ., 96 N.C.

App. at 638, 386 S.E.2d at 764. Defendants’ claims for coverage under the LLG excess

business policy do not invoke Plaintiff’s duty to defend. The trial court’s order is

affirmed. It is so ordered.

      AFFIRMED.

      Judges DEITZ and ARROWOOD concur.
